  Case 22-60935          Doc 11     Filed 09/29/22 Entered 09/29/22 23:36:50         Desc Main
                                      Document     Page 1 of 2



                           UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF VIRGINIA
                                    Lynchburg Division

In re:
         ASHLEY W. HENSLEY                                    Case No. 22-60935-PMB
                                                              Chapter 7
                         Debtor
  ___________________________________________________________________________

                            MOTION TO EXTEND TIME
              TO FILE REMAINING LISTS, SCHEDULES, AND STATEMENTS

         The Debtor, Ashley W. Hensley, by counsel, hereby moves this Honorable Court for an

extension of time in which to file her remaining lists, schedules, and statements. For her grounds,

she states as follows:

         1.     The Debtor commenced this Chapter 7 case with the filing of a voluntary petition

on September 15, 2022.

         2.     The Debtor commenced this case with the primary intention of dealing with

mounting debt.

         3.     Counsel requires additional information from the Debtor to finalize the remaining

lists, schedules, and statements.

         4.     The Debtor is requesting an extension of fourteen (14) days to file their remaining

lists, schedules, and statements.

         5.     Parties objecting to this motion shall file written objections within seven days of

service of this motion.

         WHEREFORE, the Debtor respectfully requests that she be granted the relief sought herein

and that they be granted such further relief as this Court deems just.

Date: September 29, 2022                              Respectfully submitted,

                                                      ASHLEY W. HENSLEY

                                            Page 1 of 2
  Case 22-60935       Doc 11     Filed 09/29/22 Entered 09/29/22 23:36:50            Desc Main
                                   Document     Page 2 of 2



                                                     By Counsel


NEW DAY LEGAL, PLLC

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Counsel for Debtor


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 29, 2022, a true copy of the foregoing Motion to
Extend Time to File Remaining Lists, Schedules, and Statements was sent via first-class mail,
postage prepaid, or by electronic notification to the United States Trustee, the Chapter 7 Trustee,
to the Debtor, and to all creditors or their counsel of record who have filed a request for notices.

                                                       /s/ Suad Bektic
                                                              Suad Bektic




                                            Page 2 of 2
